Case 21-11311-mdc            Doc 62      Filed 06/22/22 Entered 06/22/22 13:31:50               Desc Main
                                         Document     Page 1 of 2
                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Damen Collins
                                 Debtor(s)                                         CHAPTER 13

U.S. Bank National Association, Trustee for the
Pennsylvania Housing Finance Agency
                               Movant
               vs.                                                               NO. 21-11311 MDC

Damen Collins
                                 Debtor(s)

Kenneth E. West Esq.
                                 Trustee                                     11 U.S.C. Section 362

 MOTION OF U.S. Bank National Association, Trustee for the Pennsylvania Housing Finance
                                      Agency
                  FOR RELIEF FROM THE AUTOMATIC STAY
                              UNDER SECTION 362

         1.      Movant is U.S. Bank National Association, Trustee for the Pennsylvania Housing Finance

 Agency.

         2.      Debtor(s) is/are the owner(s) of the premises 941 Flanders Road, Philadelphia, PA 19151,

 hereinafter referred to as the mortgaged premises.

         3.      Movant is the holder of a mortgage, original principal amount of $113,898.00 on the

 mortgaged premises that was executed on January 13, 2010. The mortgage has been assigned as follows:

         Pennsylvania Housing Finance Agency (“PHFA”) to U.S. Bank National Association, (Trustee for

 the Pennsylvania Housing Finance Agency, pursuant to a Trust Indenture dated as of April 1, 1982), its

 successors and assigns recorded on October 23, 2015 in Philadelphia.

         4.       Kenneth E. West Esq., is the Trustee appointed by the Court.

         5.      The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor(s).

         6.      Debtor(s) has/have failed to make the monthly post-petition mortgage payments in the

 amount of $761.01 for the months of January 2022 through June 2022 plus late charges if applicable. The

 debtor’s suspense balance is $755.00.
Case 21-11311-mdc             Doc 62      Filed 06/22/22 Entered 06/22/22 13:31:50                Desc Main
                                          Document     Page 2 of 2
        7.         In addition to the other amounts due to Movant reflected in this Motion, as of the date

hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred legal fees and

legal costs. Movant reserves all rights to seek an award or allowance of such fees and expenses in accordance

with applicable loan documents and related agreements, the Bankruptcy Code and otherwise applicable law.

        8.         The total amount necessary to reinstate the loan post-petition is $3,811.06 (plus attorney’s

fees & costs).

        9.       Movant is entitled to relief from stay for cause.

        10.        This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                            /s/ Rebecca A. Solarz, Esq.
                                                            _________________________________
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